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                              1 Sarah P. Bell (State Bar No. 227082)
                                 sbell@fbm.com
                              2 Elizabeth Dorsi (State Bar No. 282285)
                                 edorsi@fbm.com
                              3 Farella Braun + Martel LLPth
                                235 Montgomery Street, 17 Floor
                              4 San Francisco, California 94104
                                Telephone: (415) 954-4400
                              5 Facsimile: (415) 954-4480
                              6 Attorneys for Defendant Union Pacific
                                Railroad Company
                              7
                              8                           UNITED STATES DISTRICT COURT
                              9                         CENTRAL DISTRICT OF CALIFORNIA
                           10 GEORGE TORRES, et al,                           Case No. 2:17-cv-04059-MCS-JEM
                           11                   Plaintiffs,                   JOINT NOTICE OF SETTLEMENT
                                                                              AND STIPULATION TO
                           12             vs.                                 CONTINUE TRIAL AND
                                                                              RELATED DATES
                           13 HAROLD IGDALOFF, et al.,
                                                                              The Hon. Marc C. Scarsi
                           14                   Defendants.
                                                                              Action filed:       May 31, 2017
                           15                                                 Trial Date:         June 7, 2022
                                    AND RELATED CROSS-CLAIMS
                           16
                           17
                           18             PLEASE TAKE NOTICE:
                           19             Defendant/Cross-Claimant Union Pacific Railroad Company (“Union
                           20 Pacific”) and Defendants/Cross-Claimants Harold Igdaloff, Estate of Evelyn
                           21 Igdaloff, Deceased, and the Igdaloff 1993 Family Trust (collectively, “Igdaloffs”)
                           22 respectfully submit this joint notice of settlement and stipulation to continue the trial
                           23 and related dates.
                           24             On Friday, May 20, the Igdaloffs and Union Pacific (collectively, the
                           25 “Parties”) participated in a private mediation overseen by mediator Timothy
                           26 Gallagher, Esq. The Parties are pleased to report that a settlement was reached
                           27 among the Parties. The settlement was memorialized on Friday May 20 in a signed,
                           28 binding and enforceable settlement term sheet agreement. Notwithstanding this, the
                                                                                                     34999\14820713.1
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 San Francisco, California 94104    STIPULATED REQUEST TO CONTINUE TRIAL
         (415) 954-4400
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                              1 Parties contemplate and agree that the settlement will be further memorialized in the
                              2 coming days and weeks by a further-detailed settlement agreement that will request
                              3 this Court’s continuing jurisdiction over certain matters, followed by the filing of a
                              4 motion seeking an order for good faith settlement determination, contribution
                              5 protection, and dismissal of all remaining claims in the above-captioned litigation.
                              6 The Parties accordingly believe that a continuance of the pending June 7 trial date is
                              7 appropriate as the Parties finalize, and the Court considers, the above items.
                              8           NOW, therefore, it is hereby stipulated and agreed among the Parties as
                              9 follows:
                           10             In light of the foregoing, and the fact that the settlement referenced herein,
                           11 along with the related motion and order for good faith settlement determination,
                           12 contribution protection and dismissal, will fully resolve the remaining claims in this
                           13 matter, the Parties jointly and respectfully request that the Court reset the trial date
                           14 from June 7, 2022 (ECF No. 472) to December 6, 2022, and that the Court likewise
                           15 order a six-month continuance of any presently outstanding pre-trial deadlines.
                           16             IT IS SO STIPULATED, by and through counsel of record.
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                              1 DATED: May 24, 2022                   FARELLA BRAUN + MARTEL LLP
                              2
                                                                      By:        /s/ Sarah P. Bell
                              3                                                SARAH P. BELL
                              4                                       Attorneys for UNION PACIFIC RAILROAD
                                                                      COMPANY
                              5
                              6 DATED: May 24, 2022                   OLDMAN, COOLEY, SALLUS, BINBERG,
                                                                      COLEMAN & GOLD, L.L.P.
                              7
                              8                                       By:        /s/ Marshal A. Oldman
                                                                               MARSHAL A. OLDMAN
                              9                                       Specially Appearing for HAROLD IGDALOFF,
                           10                                         ESTATE OF EVELYN IGDALOFF,
                                                                      DECEASED, IGDALOFF 1993 FAMILY
                           11                                         TRUST
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                              1                                       ATTESTATION
                              2           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all other
                              3 signatories listed, whose signatures are indicated by a conformed signature (“/s/”),
                              4 and on whose behalf this filing is submitted, concur in the filing’s content and have
                              5 authorized the filing.
                              6
                              7 DATED: May 24, 2022                      FARELLA BRAUN + MARTEL LLP
                              8
                              9
                           10                                            By:        /s/ Sarah P. Bell
                           11                                                     SARAH P. BELL
                                                                         Attorneys for UNION PACIFIC RAILROAD
                           12                                            COMPANY
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